                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - DETROIT
  IN RE:
                                                           CHAPTER 13
  Danielle N. Diggs,
                                                           CASE NO. 18-48148-PJS
                              DEBTOR.
                                                           JUDGE PHILLIP J. SHEFFERLY
  _______________________________________/

                                 ORDER ADJOURNING HEARING

        This matter having come on for hearing on _______4/9/2019________, regarding
        [ONLY PROVISIONS CHECKED BELOW SHALL APPLY]:
    Motion to Dismiss Case                                                   Confirmation of Plan
    Motion for Loan Modification                                             Plan Modification
    Motion for Relief from Stay as to creditor:                              Other:
    Objection to Proof of Claim of creditor:

         The parties having agreed to the terms herein, based on the records of the Court, the Court being
otherwise sufficiently advised in the premises; and there being no adverse impact upon any party by way
of this action, thus no notice is required to be given; now therefore;

        IT IS HEREBY ORDERED that:
        [ONLY PROVISIONS CHECKED BELOW SHALL APPLY]:
    The above referenced matter is adjourned to 6/4/2019 at 9:00 A.M.
    Debtor(s) shall be 100% current in Plan payments, pursuant to the Trustee’s records on or before
_____________
    Debtor(s) shall file and serve ____________________________________ on or before
_____________
    Debtor(s) shall provide _________________________________________ to the Trustee on or
before ___________
    Other:

Signed on April 11, 2019




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